Case 2:16-cr-01299-AI\/| Document 6 Filed 09/01/16 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
DEL RIO DIVISION

UNITED STATES OF AMERICA

v. CAUSE No. DR-16-9004M (01)

W>Co°€o°¢'m&m

MARTIN REYES-DUQUE

ASSERTI()N OF FIFTH AND SIXTH AMENDMENT RIGHTS

I, the above named defendant, hereby assert my Fifth and Sixth Amendment rights to
remain silent and to have counsel present at any and all of my interactions with the government or
its agents. I Will not Waive any of my constitutional rights except in the presence of counsel, and
I do not want the government or its agents to contact me seeking my Waiver of any rights unless
my counsel is present.

Yo, el acusado nombrado arriba, par la presente afirmo mis derechos, baja la quinta
enmienda y la sexta enml`enda de la Constitucio'n de los Estados Unz`a’os, a mantener silencio y a
tener presente mi abogado durante cualquier contacto con el gobierno 0 sus agentes 0 elementos
policiacos. N0 renunciaré ninguno de mis derechos constitucionales sino en la presencia de mi
abogado, y deseo que no me contacte ningun agente del gobierno con propésito de solicitar una

renuncia a mis derechos constitucionales a menos que este presente mi abogado.

--;z Fllr/.n /o/@s 617€/{ ,L

Defendant’s signature Attomey’s signature
2205 Veterans Blvd. Suite A-2
Del Rio, Texas 78840

Date: ?{/(/([', Time: 1 2/98 a.m. /é:.rn. |

Case 2:16-cr-Ol299-A|\/| Document 6 Filed 09/01/16 Page 2 of 2

cERTIFICATE oF sERvIcE
1 HEREBY cERTIFY that on this l day of ;¢F,J/ , 20 £4», 1

electronically filed the foregoing with the Clerk of the Court using the CM/ECF system which will
send notice to the United States Attorney for the Western District of Texas:

CLM./

Attorney

